Case 1:95-cr-10003-CBK         Document 344         Filed 02/03/09     Page 1 of 1 PageID #: 379

                              UNITED STATES DISTRICT COURT                     FILED
                                 DISTRICT OF SOUTH DAKOTA                      FEB 0 3 20D9
                                      NORTHERN DIVISION                         ~~
 *************************************************************~~*~******
                                        *
 UNITED STATES OF AMERICA,              *             CR 95-10003-01
                                        *
                   Plaintiff,           *
                                        *
       -vs­                             *                 ORDER
                                        *
 STEVEN PAUL BERNDT,                    *
                                        *
                   Defendant.           *
                                        *
 ******************************************************************************
        Defendant pleaded guilty to mail fraud, conspiracy to tamper with odometers and
 odometer tampering. He was sentenced on September 18, 1995, to 36 months custody on each
 count, all counts to run concurrently, a $30,000 fine, and $68,950 restitution. Defendant filed a
 motion, Doc. 343, attacking restitution, contending the imposition of restitution violated the Fifth
 Amendment because the indictment issued by the Grand Jury did not set forth restitution as a
 separate element of the offenses charged.
        Defendant appealed the imposition of a fine and restitution. The United States Court of
 Appeals for the Eighth Circuit affirmed on June 13, 1996. United States v. Berndt, 86 F.3d 803
 (8th Cir. 1996). Defendant filed a motion to vacate, set aside, or correct sentence pursuant to 28
 U.S.C. § 2255. That motion was denied as untimely, procedurally defaulted, and frivolous. He
 cannot bring any further motions to vacate his sentence without permission from the United
 States Court of Appeals for the Eighth Circuit. This is defendant's fourth motion attacking the
restitution order. I have previously denied all such motions. Defendant's sentence, including the
order of restitution, has long since been a final judgment. There is no legal basis for challenging
the restitution previously imposed. Accordingly,
        IT IS ORDE~E~Jhat the motion, Doc. 343, attacking restitution is denied.
        Dated this ~ of February, 2009.
                                               BY THE COURT:



ATTEST:
                                             ~13~~~_
                                             CHARLESB.KORNMANN
JOSEPH HAAS, CLERK                             United States District Judge


~Q~             (SEAL)
                               D PUTY
